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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

 JOHN DOE,                                                      )
                                                                ) CIVIL ACTION
               Plaintiff,                                       )
 v.                                                             )
                                                                )
 PURDUE UNIVERSITY, PURDUE UNIVERSITY                           )
 BOARD OF TRUSTEES, MITCHELL ELIAS                              )
 DANIELS, JR., in his official capacity as President of         )
 Purdue University, ALYSA CHRISTMAS ROLLOCK,                    ) No. 2:17-cv-33-JPK
 in her official capacity at Purdue University,                 )
 KATHERINE SERMERSHEIM, in her official capacity                )
 at Purdue University,                                          )
                                                                )
                Defendants.                                     )
                                                                )
                                                                )
                                                                )

         RESPONSE TO PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS
             SECTION 1983 DAMAGE CLAIMS, DUE PROCESS CLAIMS,
                      AND INJUNCTIVE RELIEF CLAIMS

         Defendants, The Trustees of Purdue University, Mitchell Elias Daniels, Jr., Alysa

Christmas Rollock, and Katherine Sermersheim, by counsel, reply to Plaintiff’s Memorandum of

Law in Opposition to Defendants’ Motion to Dismiss Section 1983 Damage Claims, Due Process

Claims and Injunctive Relief Claims (DE 58).

         This case has pended since January 2017. In that time, John Doe has filed two complaints

– the original complaint while he was serving a suspension during the 2016-17 school year, and

his amended complaint in September 2019, more than two years after his suspension ended. His

two complaints run to a combined total exceeding 130 pages. The June 2019 appellate ruling in

this case provided John Doe a roadmap as to what claims he is permitted to plead and how he

must state them for an actionable claim.


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       Despite ample opportunity and highly specific appellate guidance, John Doe fails his duty

to allege well-pleaded facts on key issues. See Ashcroft v. Iqbal, 566 U.S. 662, 678 (2009) (A

well-pleaded complaint must contain sufficient factual matter that, if true, states a claim to relief

that is “‘plausible on its face,’” and a claim is such when the factual content allows the court to

draw a “‘reasonable inference’” that the defendant is liable for the misconduct) (quoting Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007))).

       John Doe also refuses to acknowledge the law of the case and the import of the plain

language of his own Amended Complaint. Aside from his Title IX claim for damages, there is no

issue to be joined between John Doe and Purdue University.1 Because the Title IX claim pends

only against Purdue, there is no issue of any kind to be joined between John Doe and the

remaining Individual Defendants.

       A. Disavowal of Section 1983 damage allegation.

       John Doe does not dispute that the Amended Complaint’s Section 1983 damage claim,

found in Paragraph 125, was dismissed in 2017. His response to Defendants’ current motion to

dismiss effectively abandons Paragraph 125.

       This leaves John Doe’s Title IX claim as his only damage claim. In the absence of a

Section 1983 damage allegation, John Doe’s due-process allegations are limited to Ex parte

Young allegations for official-capacity injunctive relief. See generally Methodist Hosps., Inc. v.

Sullivan, 91 F.3d 1026, 1028 (7th Cir. 1996) (“[a] federal court could enjoin operation of the




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  On the Title IX claim, the appellate ruling concluded: “Taken together, John's allegations raise
a plausible inference that he was denied an educational benefit on the basis of his sex. To be
sure, John may face problems of proof, and the factfinder might not buy the inferences that he's
selling. But his claim should have made it past the pleading stage, so we reverse the magistrate
judge's premature dismissal of it.” Doe v. Purdue Univ., 928 F.3d 652, 670 (7th Cir. 2019).

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rules even if the Eleventh Amendment forbids an award of damages”).

        B. Failure to meet the pleading requirement for the stigma-plus claim.

        John Doe cannot state a stigma-plus claim against Purdue by merely alleging faulty

procedures. John Doe does not dispute that only the “official determination of guilt, not the

preceding charges or any accompanying rumors” can be the basis for a claim that Purdue

“allegedly deprived John of occupational liberty.” Doe v. Purdue Univ., 928 F.3d 652, 662-63

(7th Cir. 2019). John Doe does not dispute that he must allege that Purdue told “the Navy about

the guilty finding.” Id. at 662. As the appellate ruling makes plain, actionable stigma hinges on

the act of disclosure.2

        Yet John Doe never alleges who disclosed his sexual-misconduct suspension to the Navy.

The Amended Complaint does not allege that Purdue did so or that John Doe self-disclosed.

The Amended Complaint alleges that “the Navy ROTC appeared to know of the sexual

misconduct proceedings from Defendants as soon as Defendant Dean Semersheim’s April 11,

2016 letter notice of investigation was issued.” (Am. Compl., ¶86) (emphasis added). The

Amended Complaint is silent on how the Navy became aware of the investigation—that is, John

Doe does not allege that any of the Defendants told the Navy about the investigation or the guilty

finding. The Amended Complaint fails to make out a stigma-plus allegation, because this Court

is not able to draw a reasonable inference that any Defendant called the Navy’s attention to



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  John Doe correctly stops short of arguing that he can allege a stigma-plus claim for disclosure
by someone other than Purdue. In Olivieri v. Rodriguez, 122 F.3d 406, 408 (7th Cir. 1997), there
was “no evidence that the defendants disclosed to anyone the grounds of [John Doe’s
discipline].” In that case, the plaintiff could not obtain stigma-plus relief on “the largely
discredited doctrine of ‘compelled republication’ or (more vividly) ‘self-defamation,’ which
allows the victim of a defamation to satisfy the requirement of publication by publishing it
himself to prospective employers as in the present case.” Id. Self-publication is “inconsistent
with the fundamental principle of mitigation of damages.” Id.

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impending discipline of John Doe or the outcome of that investigation, or forced John Doe to do

so. Because John Doe has failed to plead a central element for a stigma-plus claim, his liberty-

interest due process claim does not meet the pleading requirement imposed by the appellate

ruling.

          The Amended Complaint instead points to a separate determination by the Navy. John

Doe alleges that the Navy knew that he was facing an allegation that, if true, would violate the

Navy’s zero tolerance policy on sexual harassment of Jane Doe, a fellow Navy ROTC cadet. (Id.,

¶76). Nothing in the appellate ruling supports a stigma-plus claim against Purdue for parallel

Navy scrutiny of John Doe for potential violation of Navy rules.

          The Amended Complaint does not support the inference that, but-for a disclosure by

Purdue to the Navy that John Doe was suspended for sexual misconduct, John Doe would have

remained in Navy ROTC at Purdue. Doe, 928 F.3d at 663 (foreclosure of “possibility of his re-

enrollment” in Navy ROTC program is element of claim for stigma-plus test). John Doe stopped

attending Purdue after his freshman year. See generally Am. Compl., ¶4. The Amended

Complaint does not allege that John Doe would have remained eligible for Navy ROTC while

not enrolled at Purdue. Therefore, John Doe has alleged nothing more than Navy ROTC

ineligibility while he was not enrolled at Purdue. ROTC ineligibility due to non-enrollment does

not equate to ineligibility due to stigmatization. Non-enrollment can have many causes and

therefore is not a plausible fact to support a claim of stigmatization.

          C. Purdue has no obligation to answer a property-interest due-process allegation
             that fails to state a claim under the current law of the case.

          John Doe does not even try to argue that the law of the case permits him to proceed on a

property-interest due process allegation. Apparently, his Amended Complaint persists in that

allegation in the hope that a future precedent will open a door to that claim. John Doe concedes

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that “[t]he Seventh Circuit ruled that there was not in this case a specific contractual promise to

support a property interest under Seventh Circuit precedent.” (Opp’n Mem. 14).

       D. John Doe does not allege an injury redressable by expungement.

       Litigants have a continuing obligation to ensure that subject-matter jurisdiction is present

in their case, and an objection for lack of subject-matter jurisdiction may be raised at any time.

See Henderson ex rel. Henderson v. Shinseki, 562 U.S. 428, 434-35 (2011); Johnson v.

Wattenbarger, 361 F.3d 991, 992 (7th Cir. 2004). Yet John Doe refuses to engage in the

obligatory task of showing standing (in the form of redress for an actionable controversy) for his

injunctive relief claims.

       The appellate ruling opened the door to consideration of expungement as a remedy for a

Fourteenth Amendment stigma-plus claim for deprivation of a “liberty interest”. Doe , 928 F.3d

at 667. This holding is a narrow provision for redress of the stigma-plus claim. It is specific to

John Doe’s representation to the appellate court that “if the guilty finding is expunged, a career

in the Navy may once again be open to him.” Id. at 666. Yet the Amended Complaint

conspicuously does not assert that expungement will make him re-eligible for the Navy. (It is

telling that John Doe’s opposition is silent on how a due-process expungement would establish

his innocence on Cadet Jane Doe’s underlying allegations that—according to the Amended

Complaint—were known to the Navy from an early point.) Therefore, the Amended Complaint

fails the redress requirement for standing to petition for expungement as a Fourteenth

Amendment stigma-plus remedy.

       Expungement to redress a non-federal reputation grievance is not within the Court’s

subject-matter jurisdiction. By his failure to allege actionable facts for stigma-plus expungement

under the Fourteenth Amendment, John Doe has failed to allege an expungement claim within



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this Court’s subject-matter jurisdiction.

       E. John Doe does not allege any controversy regarding his re-enrollment.

       John Doe’s conclusory grievance regarding reenrollment fails to satisfy his obligation to

allege well-pleaded facts showing an actionable controversy. (At most, the Amended Complaint

shows that John Doe is refusing to mitigate his alleged harm by even attempting to re-enroll at

Purdue at the start of the 2017-18 school year following the conclusion of his one-year

suspension.) Since the Amended Complaint shows on its face that John Doe has chosen not to

even attempt to re-enroll, it is impossible to construe his allegations as a controversy regarding

re-enrollment.

       “[T]o establish injury in fact when seeking prospective injunctive relief, a plaintiff must

allege a ‘real and immediate’ threat of future violations of their rights.” Scherr v. Marriott Int’l,,

Inc., 703 F.3d 1069, 1074 (7th Cir. 2013) (citing City of L.A. v. Lyons, 461 U.S. 95, 102 (1983)).

The appellate court invoked this rule. John Does “has not alleged that he intends to re-enroll at

Purdue, much less that he faces a ‘real and immediate threat’ that Purdue would again investigate

him for sexual misconduct, much less that any such investigation would violate due

process.” 928 F.3d at 666.

       The appellate court further warned: “John also seeks to remove the conditions of re-entry

imposed by Purdue as part of his discipline. John lacks standing here too. As we already noted,

he has not alleged that he intends to return to Purdue—a necessary fact to demonstrate a

cognizable injury from the barriers to re-entry. That said, the magistrate judge dismissed this

claim without prejudice, so on remand John can seek to remedy his lack of standing by pleading

the necessary facts, if he has them.” 928 F.3d at 666. This requirement applies across all of John

Doe’s theories of relief. Id. at 670 (“A final note: John seeks both money damages and injunctive



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relief for his claim under Title IX. Our earlier discussion of his entitlement to injunctive relief for

his due process claim applies equally here.”).

       John Doe has heeded none of this. John Doe’s disciplinary process at Purdue is over. He

served his suspension. He has not alleged that Purdue reported its disciplinary determination to

the Navy or that vacating that disciplinary determination would render him eligible to re-enroll in

Navy ROTC. He has never asked for an injunction ordering Purdue to reopen Jane Doe’s

allegation against him. Because he has not even attempted to re-enroll at Purdue, there is no

controversy about his ability to do so. The Amended Complaint alleges no real and immediate

obstacle to his re-enrollment. Nor is there any allegation of a plausible factual basis to consider

whether—upon re-enrollment—he would be eligible to re-enroll in Navy ROTC.

       John Doe’s Title IX claim is entirely retrospective. He alleges that his suspension was an

act of gender bias that caused him damages. The alleged facts for that gender-bias damage claim

against Purdue University do not establish any standing for prospective injunctive relief, whether

against the University itself or the Individual Defendants in their official-capacities.

Conclusion

       For these reasons, Defendants respectfully urge the Court to dismiss all claims of

Plaintiff’s Amended Complaint (ECF No. 51), except Plaintiff’s Title IX claim for damages.




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Dated: October 7, 2019                          Respectfully submitted,

                                                /s/ William P. Kealey
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